                              UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,
                                                 Criminal No. 19-10127-IT
         V.



DAVID ALEXANDER ARIAS ARIAS,
                       Defendant.


                     STIPULATED JUDICIAL ORDER OF REMOVAL


         Pursuant to the authority created by Section 374(a)(3) of the Illegal Immigration Reform

and Immigrant Responsibility Act of 1996, Pub. L. 104-208, 110 Stat. 3009 (September 30,

1996), codified at 8 U.S.C. § 1228(c)(5), and upon the parties' agreement to the entry of a

stipulated judicial order of removal, it is hereby ordered that the defendant, DAVID

ALEXANDER ARIAS ARIAS (A 215 557 833) be removed from the United States. The Court

finds that DAVID ALEXANDER ARIAS ARIAS is removable under 8 U.S.C. §

1182(a)(6)(A)(i) as an alien who is present in the United States without being admitted or

paroled. The Court directs that upon conviction and after release from any period of

incarceration, DAVID ALEXANDER ARIAS ARIAS be taken into custody by the United States

Immigration and Customs Enforcement and removed to the Dominican Republic or to any other

country as prescribed by the immigration laws of the United States of America.




                                                     I^N. INDIRA TAIwANI
                                                     UNITED STATES DISTRICT JUDGE
Dated:                  ,2019
